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                         IN TIIE IIMTED STATES DISTRICT COTIRT
                      FOR TIIE EASTERN DISTRICT OF PEI[NSYLVAIYIA

UNITED STATES OF AMERICA,            ET   d.,   ex rel.
CHARLES STRI NCK,9! d.,

                       Plaintiffs,

                v.                                              Civil Action No. 12-CV-0175

MALLINCKRODT ARD LLC.
(flkla Mallinckrodt ARI), Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant

UMTED STATES OF AMERICA, g! d.,                 q   re!.
scoTT CLARK,

                       Plaintiffs,

               v
                                                                Civil Action No. 13-CV-1776
MALLINCKRODT ARD LLC.
(f/k/a Mallinckrodt ARI), Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant



                                                    ORDER
        The Govemment's Motion to Consolidate is hereby Granted. IT IS ORDERED that,

1.      The above-captioned cases are consolidated pursuant to Fed. R. Civ. P. a2@)(2), with

United States ex rel. Strunckv Mallinclcrodt ARD LLC,Case No. 1:12-cv-0175, to be designated

the lead case, and all future filings shall be submitted under that caption.
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2.     This Order shall not affect the right of any Party to assert the application of   3l   U.S.C.   $


3730(bX5) or to seek a separate trial pursuant to Fed. R. Ciy. P. 42(b).

3.     Although Mallinclaodt plc was named as a defendant in one of the two actions being

consolidated, it was not served and is not named as a defendant in the United States' Complaint in

Intervention, which is now the only operative complaint in this action. Accordingly, upon the

stipulation of the parties, Mallinckrodt plc is terminated from this action.

       IT IS SO ORDERED,

       This         day of July,2019.


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                                              HONORABLE BERLE M. SCHILLER
                                              Judge, Untted States District Court
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                         IN THE TINITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PEI\NSYLVANIA

UNITED STATES OF AMERICA, et al., ex rel.
CHARLES STRUNCK, 9l BI.,

                       Plaintiffs,

                Y                                               Civil Action No. 12-CV-0175

MALLINCKRODT ARD LLC.
(f/k/a Mallinckrodt ARD, Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant.


IINITED STATES OF AMERICA, et al.,g rel.
SCOTT CLARK,

                       Plaintiffs,

                v
                                                                Civil Action No. 13-CV-1776
MALLINCKRODT ARD LLC.
(f/k/a Mallinckrodt ARI), Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant.



     THE GOVERNMENT'S UNOPPOSED MOTION TO CONSOLIDATE CASES

       The United States respectfully moves the Court to consolidate the above-captioned cases

pursuant to Federal Rule of Civil Procedure 42(a)(2), on the grounds that these cases involve

common questions of law and fact. The United States respectfully submits that such

consolidation is for administrative purposes and does not affect the merits of either case, or

whether   3l U.S.C. $ 3730(b)(5) applies to any of the claims   alleged in the complaints filed by
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Relators in either case. Counsel for Relators and Defendant in each case have informed the

United States that they do not oppose this request, but Defendant reserves the right to move for a

separate   trial under Fed. R. Civ. P. 42(b). The United States submits contemporaneously with

the motion its memorandum in support of consolidation.




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      A proposed order accompanies this Motion.

                                         Respectfu lIy submitted,



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                                         Assistant Attorney General

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Date: July 3,2019




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                         IN THE T]MTED STATES DISTRICT COTTRT
                     F'OR THE EASTERN DISTRICT OF PENNSYLVAI\IIA


UNITED STATES OF AMERICA, et g!., ex rel.
CHARLES STRUNCK et al.,

                      PIaintiffs,

               Y                                            Civil Action No. 12-CV-0175

MALLINCKRODT ARD LLC.
(f/k/a Mallinckrodt ARI), Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant.


UNITED STATES OF AMERICA, et al.,9I E!.
SCOTT CLARK,

                       Plaintiffs,

               Y
                                                             Civil Action No. 13-CV-1776
MALLINCKRODT ARD LLC.
(flkla Mallinckrodt ARI), Inc.;
flkla Questcor Pharmaceuticals, Inc.),

                       Defendant.



                                UM IN SUPPORT OF'   IINITED
                   STATES' T'NOPPOSED      ON TO CONSOLIDATE

       The United States submits this memorandum in support of its unopposed motion to

consolidate the above-captioned cases pursuant to Federal Rule of Civil Procedure Rule a2@)(2)

Defendant and the Relators in each case consent to this Motion.
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                                            DISCUSSION

        Relators Charles Strunck and Lisa Pratta filed their original qui tam case in the Eastern

District of Pennsylvania under seal in accordance with the False Claims Act, 3l U.S.C.          S 3729,


et seq., on January   27,2012 (the "Strunck Case"). Relator Scott Clark filed his qui tam case on
                           ooClark
or about July 4, 2013 (the         Case"). Both cases are currently pending before this Court.

On March 6,2019 the United States filed its notice of election to intervene in both the Struck and

Clark Cases. On June 4,2019, the United States filed the same Complaint in Intervention in both

the Stmnck and Clark Cases, which sets forth the allegations the United States is proceeding with

in the cases.


        Consolidation is governed by Federal Rule of Civil Procedure 42(a), which permits cases

to be consolidated for the economy and convenience of the court and the parties, where such

cases involve common questions of law or fact,      while allowing the consolidated cases to retain

their separate identity. Fed. R. Civ. P. $ a2(a). In re Community Bank of Northern Virginia,4lS

F.3d277,298 n.l2 (3d Cir. 2005) ("As stated by the Supreme Court, 'consolidation is permitted

as a matter of convenience and economy       in administration, but does not merge the suits into a

single cause, or change the rights of the parties, or make those who are parties in one suit parties

in another."') (quoting Johnson v. Manhattan Ry. Co.,289 U.S. 479, 496-97 , 52 S. Ct. 721

(1933)), see Cella v Togum Constructeur Ensemleier en Industrie Alimentaire,lT3 F.3d 909,

912 (3d   Cir. 1999) ("[W]hile   a consolidation order may result in a single   unit of litigation, such

an order does not create a single case   forjurisdiction purposes.").1




I The cases thus retain their separate identity for purposes of the application 31 U.S.C.
                                                                                               $
373O(b)(s).
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             In particular, consolidation can be appropriate to bring effrciencies to the litigation of

cases alleging the same core basis of       liability. Hagan v. Rogers, 570 F.3d 146,16l n.11 (3d. Cir.

2009). The Court has "broad authority to consolidate actions involving cofllmon questions of

law and fact if, in its discretion, such consolidation would facilitate the administration of

justice." Eastman Chem. Co. v. AlphaPet, Inc.,2011 U.S. Dist. LEXIS (D. Del. Dec.29,20ll);

see also Young v. City of Augusta,59 F.3d         I160, 1168-69 (l lth Cir. 1995) (where the "core issue

of liability" was "the same in both cases[,]" consolidation of multiple cases would be warranted).

             Here, as is clear from the fact that the United States has filed the same Complaint in

Intervention in both cases, and therefore is proceeding on the same core allegations in each of

them, common questions of law and fact are at the heart of these matters.

             There is therefore no doubt that consolidation   will   serve to preserve judicial resources,

and the resources of the parties, and      will also serve the parties'   and Court's convenience by

administering these matters as one unit of litigation. Counsel for the United States have

conferred with counsel for the Relators and the Defendant and have been authorizedto represent

that:   l)   Relators consent to this Motion to Consolidate; and 2) the Defendant also consents to this

Motion to Consolidate provided that Defendant specifically reserves its right to move for            a


separate      trial under Fed. R. Civ. P. 42(b) only with respect to relators' separate employment or

retaliation claims against the Defendant. Accordingly, the attached Proposed Order also states

that this consented-to consolidation does not affect Defendant's right to do so.
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                                         CONCLUSION

        For the foregoing reasons, the United States respectfully requests that the Court

consolidate the above-captioned actions for all purposes.


                                              Respectfully submitted,

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Date: July 3,2019




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                                     CERTIFICATE OF SERVICE


       It is hereby certified that   a copy of the foregoing United States' Unopposed   Motion to

Consolidate Cases, as well as the accompanying memorandum of law, were sent by First Class
                                          +> hl.
United States Mail, postage prepaid,     this J  day of July,2}lg,to the following:


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